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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                               LITTLE ROCK DIVISION

UNITED STATES OF AMERICA


VS.                                   4:06CR00182(4) JMM/JTR


MARLAN SHAWN MOBLEY

                                             ORDER

        On May 11, 2006, the Court entered an Order Setting Conditions of Release for Defendant,

including home incarceration with electronic monitoring and submission to random drug testing.

(Docket entry #32.) Petitioner’s Pretrial Services Officer (“PSO”) subsequently submitted a Petition

advising the Court that, on June 8, 2006, Defendant’s urine tested positive for marijuana metabolite.

Although Defendant denied any marijuana usage, he agreed to attend drug education classes at the

Family Service Agency in North Little Rock, Arkansas, beginning on July 6, 2006. Importantly, the

Pretrial Services Officer recommended no further action, other than Defendant’s referral for drug

education classes.

        In response to the PSO’s Petition, the Government has filed a Motion to Revoke Bond. In

this Motion, the Government argues that, because Defendant has not acknowledged a drug problem,

drug education classes are a waste of government money that otherwise “ought to be wasted by

housing the defendant in jail.” (Docket entry #44.)

        While the Court fully appreciates the logic behind the Government’s Motion, it will defer

to the recommendation of the PSO and deny the Government’s Motion. Although the PSO does not

state Defendant’s complete drug testing history, it appears that the positive test on June 29, 2006,

was his first positive for drug use. While the Court is troubled by Defendant’s denial of usage, in
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light of the positive test, his willingness to enter the treatment program, when offered, suggests an

acknowledgment of a drug problem.          Thus, the Court will follow the recommendation of

Defendant’s Pretrial Services Officer and allow Defendant to remain free on conditions, which now

include out-patient drug treatment.

       Although Defendant’s bond will not be revoked at this time, the Court cautions Defendant

that, if he has any more positive drug tests, the Court will have no alternative except to detain

Defendant. If Defendant’s drug problem is so great that he requires more than outpatient treatment

to avoid continued drug use, he should immediately contact his PSO and request inpatient drug

treatment. If Defendant continues with only outpatient treatment and again tests positive for drugs,

the Court will not consider a belated request by Defendant for inpatient drug treatment, since at that

point Defendant’s only motivation for seeking inpatient treatment will be to avoid going to jail,

rather than a sincere acknowledgment that he has a serious drug problem and genuinely wants to

receive the intensive treatment necessary to break his addiction to drugs. Defendant’s counsel is

directed to contact Mr. Mobley and read this Order to Mr. Mobley word-for-word and explain to him

the consequences of any future positives for using drugs while on pretrial release.

       IT IS THEREFORE ORDERED that the Government’s Motion to Revoke Bond (docket

entry #44) is DENIED.

       IT IS SO ORDERED this 12th day of July, 2006.


                                                 ___________________________________
                                                 UNITED STATES MAGISTRATE JUDGE




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